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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

ANGELA D CAESAR
C/erk of C ourl

NOTICE OF RIGHT TO CONSENT TO TRIAL
BEFORE A UNITED STATES MAGISTRATE JUDGE

The substantial criminal caseload in this Court and the requirements ofthe criminal Speedy Trial
Act frequently result in the delay in the trial of civil cases. Aware of the hardship and expense to
the parties, counsel, and witnesses caused by the delays which are beyond the control ofthe Court,
this notice is to advise you ofyour right to trial ofyour case by a United States Magistrate Judge.

By statute, 28 USC §636(c), Fed.R.Civ.P. 73 and Local Civil Rule 73.1, the parties, by consent, can
try their case by means of a jury trial or bench trial before a United States Magistrate Judge.

Appeals from judgments and linal orders are taken directly to the United States Court of Appeals
for the District of Columbia Circuit, in the same manner as an appeal from ajudgment ofa United
States District Judge in a civil case.

WHAT IS THE PROCEDURE?

One ofthe matters you are required to discuss at the meet-and-confer conference mandated by Local
Civil Rule 16.3 is whether the case should be assigned to a United States l\/lagistrate Judge for all
purposes, including trial

All parties must consent before the case is assigned to a Magistrate Judge for trial. You may consent
at any time prior to trial. lf you expressly decline to consent or simply fail to consent early in the
case, you are L)_t foreclosed from consenting later in the case. However, a prompt election to
proceed before a Magistrate Judge is encouraged because it will facilitate a more orderly scheduling
of the case.

Counsel for the plaintiff has been furnished a copy of the “Consent to Proceed Before a United
States Magistrate Judge for all Purposes” form. lf and when the form is executed, your response
should be made to the Clerk ofthe United States District Court only.

WHAT IS THE ADVANTAGE?

The case will be resolved sooner and less expensively. The earlier the parties consent to assigning
the case to a Magistrate Judge the earlier a firm and certain trial date can be established, even ifthe
case is to be tried to ajury.

Upon the filing of the consent form the case will be randomly assigned for all purposes to a
l\/Iagistrate Judge.

n:\Forms\Notice of Right to Consent to Trial
CO-942A Rev. 2/17

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AO 85 (Rev 02/17) Nolice` Consent_ and Reference ofa Civil Action to a Magistrale Judge

 

UNITED STATES DisTRiCT CoURT

 

 

for the
_ )
P/a/nti/Y )
v. ) Civil Action No.
_ l )
Defendanl )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice ofa magistratejudge ’s availability A United States magistrate judge ofthis court is available to conduct
all proceedings in this civil action (including ajury or nonjury trial) and to order the entry ofa finaljudgment. Thejudgment
may then be appealed directly to the United States court ofappeals like any otherjudgment ofthis court. A magistratejudge
may exercise this authority only if all parties voluntarily consent.

You may consent to have your case referred to a magistratejudge, or you may withhold your consent without adverse
substantive consequences The name ofany party withholding consent will not be revealed to anyjudge who may otherwise
be involved with your case.

Consent to a magistrate judge ’s authority The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of finaljudgment, and all post-trial proceedings

Printea’ names of parties and attorneys Sl`gnatures of parties or attorneys Dates

 

 

 

 

Reference Order

IT IS ORDERED: This case is referred to a United States magistratejudge to conduct all proceedings and
order the entry ofa final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:

 

District Jua'ge 's signature

 

Prmted name and til/a

Note: Return this form to the clerk of court only if you are consenting to the exercise ofjurisdiction by a United States
magistratejudge. Do not return this form to a judge.

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UN|TED STATES DlSTRlCl` AND BANKRUPTCY COURTS
FOR THE DlSTRlCT OF CO_LUl\_/|BlA

lNlTlAL ELECTRON|C CA$E FlLlNG ORDER'

All filings in this case must be made electronicah/ using the Court's Electronic Case Filing System (ECF)

pursuant to Local Civil Rule 5 4.

ORDERED that counsel shall:

Register, if not previously registered, to become an electronic filer by completing and returning the ECF
Registration form found on the Court's Website atwww dcd. uscourts gov The login and password are
case specific and can be used for all cases.

Have a PACER (Public Access to Court Electronic Records) account, in order to view dockets and
documents Call (800) 676-6856 or visit www.pacer.gov for additional information.

Review all filing instructions and interactive tutorials found on the Court's Website.

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Pursu'ant to Local Civil Rule 5.4(b)(2), a pro se litigant may tile a motion requesting permission to tile
documents electronically. See the rule for specific directions and requirements

lfa document must be submitted in paper,' the original and one copy of the document (not including
summonses and civil cover sheet) shall be delivered to the Cierk's Office. Additionally, these filings are
hereby required to be in_ PDF format on a CD-Rom. The disk should be clearly labeled with the case
number (if known) and the caption ofthe case. if unable to deliver the disl< at the time of the filing,
counsel shall email the document to dcd cmecf@dcd.uscourts£ov by the close of business the day the
--* "~‘ th the court, in a

document Was filed Failur c~ to supply electronic copies of any paper docu,..e..t ...ed a.

timely manner, will result` in notification to the assigned judge. Failure to submit the document in an
electronic format deemed acceptable to the Clerk's Office may delay the notification ofthe filing to the

assigned judge in the case.

 

UNlTED STATES DlS`l`RlCTlUDGE

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United States District Court
For The District of Columbia

ELECTRONIC CASE FILES
ATToRNEY/PARTICIPANT REGISTRATIoN FoRM

LIVE SYSTEM

This form shall be used to register for an account on the Court’s Electronic Case Files (ECF)
system. Registered attorneys and other participants will have privileges both to electronically
submit documents, and to view and retrieve electronic docket sheets and documents for all
cases assigned to the E|ectronic Case Files system.

The following information is required for registration:
lt you are appointed pro bono or pro hac vice, please provide the case number:

 

First Name/l\/|iddle lnitial/Last Name:

 

Last four digits of Social Security Number:

DC Bar ID#:

 

Firm Name:

 

Firm Address:

 

 

Voice Phone Number:

 

FAX Phone Number:

 

` lnternet E-l\/lail Address;

 

By submitting this registration torm, the undersigned agrees to abide by the following rules:

1. This system is for use only in cases permitted by the U.S. District Court for the
District of Columbia. lt may be used to file and view electronic documents, docket
sheets, and notices. Please visit the Court’s ECF lnternet Website to schedule
training

2. Pursuant to Federa| Rule of Civil Procedure tt, every pleading, motion, and other
paper (except list, schedules statements or amendments thereto) shall be signed by
at least one attorney of record or, if the party is not represented by an attorn'ey, all

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papers shall be signed by the party. An attorneys/participants password issued by
the court Combined With the user’s identification, serves as and constitutes the
attorneys/participants signature Therefore, an attorney/participant must protect and
secure the password issued by the court lf there is any reason to suspect the
password has been compromised in any way, it is the duty and responsibility of the
attorney/participant to immediately notify the court This should include the
resignation or reassignment of the person With authority to use the password. The
Court will immediately delete that password from the electronic filing system and
issue a new password.

3. An attorneys/participants registration Will not Waive conventional service of a
summons and complaint, subpoena or otherjudicial process; submit the client to the
jurisdiction of the Court; or operate as a consent to accept service of pleadings,
documents, and orders in actions in Which such attorney/participant has not entered
an appearance An attorneys/participants registration will constitute a waiver in law
only of conventional service of other non-process pleadings, documents, and orders
in the case. The attorney/participant agrees to accept, on behalf of the client, service
of notice of the electronic filing by hand, facsimile or authorized e-mail.

4. Upon receipt of your login and password, you are strongly encouraged to change
your password, which may be done through the Utillties function, to a name easily
recalled You may be subjected to a fee, should the Clerl<’s Office have to create a
new password for you, or alternatively, you may be required to appear in person to
receive your new password.

5. Attorneys must be active members of the bar of this Couit, or government attorneys
Who are employed or retained by the United States, or who have been permitted to
proceed pro hac vice, must file pleadings electronically.

6. Whenever a filer’s e~mail address changes, the user agrees to update their ECF
profile to show the new e~mail address The system is robust enough to permit
counsel to change their own e-mail address within the ECF System. Effective
December 9, 2008, pursuant the directions from the Court’s lnformation Technology
Committee, the Clerk’s Office will no longer monitor bounced e-mails.

7. Login & Passwords Will be issued within 48 business hours of being received in the
Clerl<'s Office.

Please return this form via E~mail: ecf_login@dcd.uscourts.gov
Fa)<: Files 81 lntal<e (202) 354~3524

or l\/lail: U.S. District Court for the District of Columbia

Attn: Attorney Admissioris

333 Constitution Avenue NW, Room 1225

Washington, DC 20001

Applicant’s Signature:

 

 

Full Last Name lnitial of First l\lame Last 4 Digits SS#

